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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION
                                  www.flmb.uscourts.gov

In re:                                                       Case No. 2:19-bk-06611-FMD
                                                             Chapter 13
Benjamin Ojeda, Jr. and
Nancy Ann Ojeda

        Debtors.
________________________/

                      TRUSTEE’S OBJECTION TO DEBTORS’
                  AMENDED MOTION TO MODIFY CONFIRMED PLAN

         COMES NOW, JON M. WAAGE, the Chapter 13 Standing Trustee by and through his

undersigned attorney and hereby files his Objection to the Debtors’ Amended Motion to Modify

Confirmed Plan (Doc. No. 108) and would show unto the Court the following:

         1.     The Debtors' amended schedules I&J (doc. no.: 106 pg. six of seven, line 17d)

indicate the Debtors are paying the Internal Revenue service direct for the 2020 tax liability at

$200.00 per month.

         2.     Further, it appears from Debtors’ amended budget, the draft CMI (doc. no.: 106-1,

line 45) attached to the amended budget, and the most recent pay advices provided to the

Trustee, the Debtors have had a substantial increase in their income post-confirmation. The

Debtors should be required to increase their plan payments to cover the additional tax liabilities

and to increase the distribution to the timely filed and allowed non-priority general unsecured

claims instead of carving out funds promised to other creditors.

         3.     Finally, the Debtors should adjust their federal income tax withholdings to avoid

future post-petition tax claims to the extent possible with their respective employers and should
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be required to provide proof of said adjustments to the Trustee the Court along with an amended

budget evidencing the same.

       Wherefore, the Chapter 13 Trustee respectfully request the Debtors’ Amended Motion to

Modify Confirmed Plan (Doc. No. 108) be set for a hearing, together with such other and further

relief as the Court deems just and proper.

                                                       /s/ Michael E. Cecil
                                                       Michael E. Cecil, Esquire
                                                       Florida Bar No. 722855
                                                       Staff Attorney for Chapter 13 Trustee
                                                       P.O. Box 25001
                                                       Bradenton, Florida 34206-5001
                                                       Phone: (941) 747-4644
                                                       Fax:    (941) 750-9266

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Trustee’s Objection
to Debtors’ Amended Motion to Modify Confirmed Plan was furnished electronically by CM/ECF
services and/or by U.S. Mail to Benjamin Ojeda, Jr. and Nancy Ann Ojeda, Debtors, 3330
Banyon Hollow Loop, North Ft. Myers, Florida 33903 and to David W. Fineman, Esq., c/o The
Dellutri Law Group, PA, Attorney for Debtors, 1436 Royal Palm Square Blvd., Ft. Myers,
Florida 33919 on this 8th day of October 2021.

                                                       /s/ Michael E. Cecil
                                                       Michael E. Cecil, Esquire

JMW/MEC/br
